            Case 1:21-cv-04468-JPC Document 17 Filed 11/02/21 Page 1 of 2




                                           THE CITY OF NEW YORK
                                          LAW DEPARTMENT
GEORGIA PESTANA                               100 CHURCH STREET                             OMAR J. SIDDIQI
                                              NEW YORK, NY 10007                                  Senior Counsel
Corporation Counsel                                                                E-mail: osiddiqi@law.nyc.gov
                                                                                          Phone: (212) 356-2345
                                                                                             Fax: (212) 788-9776



                                                   This request is granted. The parties shall complete
       October 26, 2021                            mediation by December 5, 2021. The conference scheduled
                                                   for November 17, 2021 is adjourned to December 16, 2021
                                                   at 11:00 a.m. At the scheduled time, all parties should call
   BY ECF                                          866-434-5269, access code: 9176261. The Clerk of Court is
   Honorable John P. Cronan                        respectfully directed to mail a copy of this order to the pro
   United States District Judge                    se plaintiff.
   Southern District of New York
   500 Pearl Street                           SO ORDERED.                         ____________________
   New York, New York 10007                   Date: November 1, 2021                JOHN P. CRONAN
                                              New York, New York                 United States District Judge

          Re:     Christopher Bates v. City of New York et al., 21 Civ. 4468 (JPC)


   Your Honor:

                   I am a Senior Counsel in the office of Georgia Pestana, Corporation Counsel of
   the City of New York, representing defendants in the above-referenced matter. The parties write
   jointly to respectfully request: (1) that the Court extend the parties’ time to complete mediation
   until December 5, 2021; and (2) that the Court adjourn the conference currently scheduled for
   November 17, 2021, until after the mediation process is completed.

                   The reason for the instant request is that the parties require additional time to
   confer with their respective clients about authority for the mediation in this matter. The parties
   have consulted with the mediator assigned to this matter, who is prepared to reschedule the
   mediation to December 1, 2021, should the Court grant the instant application. The parties
   respectfully submit that they believe that mediation will be a useful exercise in this matter, and
   that the additional time will lead to a more fruitful mediation.

                 The parties request that the November 17th conference be moved until after the
   mediation. Should the mediation be successful, there would not be a reason to schedule
   discovery. Should the mediation be unsuccessful, the parties submit that a conference would be
   more appropriate at that time.
          CaseBased  on the foregoing, the
                1:21-cv-04468-JPC          parties respectfully
                                       Document                 request: (1)Page
                                                    17 Filed 11/02/21        that the
                                                                                   2 ofCourt
                                                                                        2 extend
the parties’ time to complete mediation until December 5, 2021; and (2) that the Court
adjourn the conference currently scheduled for November 17, 2021, until after the mediation
process is completed.




                                                           Respectfully submitted,
                                                                 /s


                                                           Omar J. Siddiqi
                                                           Senior Counsel



cc: Cyrus Joubin, Esq. (By ECF)




                                               2
